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                          IN THE UNITED STATES DISTRICT COURT
                              FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,

                       Plaintiffs,                                       8:17CR286

       vs.
                                                                           ORDER
JOHN F. HALLER, III,

                       Defendant.


       This matter is before the Court on Defendant's MOTION FOR EXTENSION OF TIME TO
FILE PRETRIAL MOTIONS AND TRIAL [181]. The Court notes that a jury trial as to all
defendants is set for June 4, 2018, before District Judge Robert F. Rossiter, Jr. However, for good
cause shown, I find that the motion should be granted. Defendant will be given an approximate forty-
five (45) day extension. Leave is given to file pretrial motions on or before June 22, 2018.
Accordingly,
       IT IS ORDERED:
       1. Defendant's MOTION FOR EXTENSION OF TIME TO FILE PRETRIAL MOTIONS
AND TRIAL [181] is granted. Pretrial motions shall be filed on or before June 22, 2018.
       2. The jury trial scheduled for June 4, 2018, is cancelled as to all defendants, and shall be
rescheduled upon the expiration of the June 22, 2018, pretrial motion filing deadline.
       3. The ends of justice have been served by granting such motion and outweigh the interests of
the public and the defendant in a speedy trial. The additional time arising as a result of the granting
of the motion, i.e., the time between today’s date, and June 22, 2018, shall be deemed excludable
time in any computation of time under the requirement of the Speedy Trial Act for the reason
defendant's counsel required additional time to adequately prepare the case, taking into consideration
due diligence of counsel, and the novelty and complexity of this case. The failure to grant additional
time might result in a miscarriage of justice. 18 U.S.C. § 3161(h)(7)(A) & (B).
       Dated this 23rd day of April, 2018.

                                                       BY THE COURT:

                                                       s/ Michael D. Nelson
                                                       United States Magistrate Judge
